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                          UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
Lavonya N. Roberson                                  §
                                                     §
vs.                                                  §       NO: AU:22-CV-00306-RP
                                                     §
CBE Group, Inc.                                      §

                    ORDER SETTING INITIAL PRETRIAL CONFERENCE

                The Court hereby sets and directs the parties, or counsel acting on their behalf, to
       appear by phone for an initial pretrial conference on November 15, 2023 at 09:45 AM .
                **Please call in 5 minutes prior to start of hearing.**
                1. Toll free number: 888-363-4735
                2. Access code: 3948919
       If there are questions regarding the telephonic appearance, the parties should contact
       Julie Golden, Courtroom Deputy, at julie_golden@txwd.uscourts.gov. Counsel for plaintiff
is ordered to notify Ms. Roberson of the hearing and Plaintiff is ordered to appear for the telephone
conferece.
                The use of speaker phones is prohibited during a telephonic appearance.
       Additionally, because earlier hearings in other cases may be in progress at the time attorneys
       call in for their scheduled conference, attorneys should call in with their phones on “mute”
       and wait for the Courtroom Deputy to call this case.before they speak.


                The parties should be prepared to discuss potential trial settings as the Court intends
       to set a trial date in this action at the initial pretrial conference.


                The Court holds telephonic hearings for the convenience of counsel, especially those
       from out of town. Due to the significant number of lawyers who fail to appear by telephone
       as ordered, THE COURT WILL SANCTION NON-APPEARING ATTORNEYS WITH
       COSTS INCURRED BY APPEARING ATTORNEYS. A second non-appearance
       (whether in the same or different cases) will result in non-complaint attorneys being required
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to appear in person for all subsequent initial pretrial conferences.

        SIGNED on 7th day of November, 2023.


                                               ______________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE
